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   Ex hib it 1
                             Case 5:17-cv-00642-OLG Document 1-1 Filed 07/17/17 Page 2 of 6
                                                                           PETITION: SMALL CLAIMS CASE

CASE NO. (court use only)         ~),..S - I J-o~4d-                                            IN THE JUSTICE COURT, PCT. ~ BEXAR COUNTY, TEXAS
PLAINTIFF: /{ t.    v,' .,J h. IT1eNt k e.-

~~FENOAITT(S)     UM; k!. oki:-k>:::: (a.,c!~CV\A L.. b~n-~i,V1 ~iu)
Defendant(s)·contact Info;... •
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                                                         .~           ADDRESS                                     CITY               STATE              ZIP
COMPLAINT: The basis for the claim which entitles the plaintiff to seek relief against the defendant is:


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 RELIEF: ...,..,, - . damages In tt,eam""111:1,                       0, 0 oU   ·-· n,rum o1 pe,sonal property a, ""5robed a, fol- (be ,peclflc):
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 ,}ha..t' -3,.,; \ \ \Je ob)e, }o (lel,t.\Je., lh~ JJ,.~,of'lo..;L fJCL\rJ e..ddel bq +l\'6 Su.fl$,
 SERVICE OF CITATION: Service is requested on defendants by personal service at home or wod< or by alternative service as allowed by the Texas Justice Court Rules of Court Other .
 addresses where the defendanl(s} may be served are:




 tvi~~ tIf youwish to give your consent for the answer and any other motions or pleadings to be sent to your email address, please checlt this box, and provide your valid
        emafl address

                       V   'r01;rJ i&ev
                   Petitioner's Printed Name

  DEFENDANT($} INFORMATION (If known):
              ....
 DATE OF BIRTH~            /_A-_ ___
 LAST 3 NUMBERS OF DRIVER LICENSE                        ~f..'J..t-._____ __
 LAST 3 NUMBERS OF SOCIAL SECURITY.....N.~::..:.8:_ _ __
 DEFENDANT'S PHONE             NUMBEr(_'8-/~'?.:,'8"l/-'f/;l/'i,-

 Sworn to and subsalbed before me this _ _                            d:J\1N 2 8 2017 ,20_
            Case 5:17-cv-00642-OLG Document 1-1 Filed 07/17/17 Page 3 of 6




lnstrudions: The Servicemembers Civil Relief Act applies to a civil proceeding in the Justice Courts. Before entering a default judgment
against an individual defendant, the plaintiff must tile with the court an affidavit stating whether or not the defendant is in the military service,
showing necessary facts to support the afTidavit, or stating that the plaintiff is unable to detennine whether or not the defendant is in military
seJVicc, if that is the case. The requirement for an affidavit may be satisfied by a written, signed document declared to be true under penalty of
perjury. If it appears that the defendant is in military service, the court may not enter a judgment until after the court appoints an attorney to
represent the defendant. If the court is unablG to detennine if the defendant is in military seIVice, the court may require plaintiff to file a bond in
an amount approved by the court.                                                                       .
A person who makes or uses an affidavit under this Act knowing itto be false,may be fined or imprisoned or both. 50 U.S.C. App. 501 et seq.
To obtain certificates of service or non•setvicc under the Serviccmembers' Civil Relief Act, you may access the public website:
https://www dmdc.osd,mil/appjfsc:ra/si;raHome,do. This website will ·provide the current active military status of an individual.

Military Status Affidavit

Case No. ______ ______ ______                                                          §     In the Justice Court of

 Ifcwt"'
Plaintiff
                  l..~   rn:e~ k
                               ·
                                      l       r:)      (ti-     i-5

 who, under penalty of perjury, stated that the following facts are true:
 I am the CJ-l1aintiff             D attorney of record for the Plaintiff in this proceeding.

 D
      ------ ------ ------ -~ Defendant, is not in military service.
                                                                                                                                                        ---:-i
 a   - - - - - - - - - - - - - - - - - - - ' D e f e n d a n t . i s in military service. a,                                                            rT1 ~.~: •
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 I know this, because _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _..._                                                               ~;;.:~


 ~unable to detennine whether or not the Defendant is in mil'
 Signed on _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                                                                   Telephone: ._.....·..,.l.....x;-........;a<-+--~.,J,C.,...,,..,..,__ __
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                                                                                   E-Mail Address:        <j /lJl b'1V dt! 9 f@4t£ f'lw,f
  THESTATEOF TEXAS                        §
  COUNTYOFB
                                                                                             JUN 2 8 2017

                                                                                        NOTARY PUBLIC, State of Texas
                                         Case 5:17-cv-00642-OLG Document 1-1 Filed 07/17/17 Page 4 of 6
                                                      Justi~ ~urt Civil Case :{n:formation Sh..,..,, (4/13)

                  Cause Number Q'or clerk use only}:                            - - -
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                             e.g., John Smith v. All American Insurance Co; In re Macy Ann Jones; In the Matter of the Estate of George Jackson)
A civil case information sheet must be completed and submitted when an original petition is filed to initiate a new· suit. The infonnation should be the
best available at the time of filing. This sheet. required by Rule of Civil Procedure 502, is intended to collect information that wiU be used for
statistical pwposes only. It neither replaces nor supplements the tilings or service of pleading or other documents as required by law or rule. 1be sheet
does not constitute a discovery request, response, or supplementation, and it is not admissible at that
1. Contact information for person completing case information
sheet:                                                                                                                           2. Names of parties in case:

                                                                             Telephone:                                                  j
                                                                                                                                 Plaintiff(s): I  l . y{\
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City/State/Zip:

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3. Indicate case type, or identify the most important issue in the case (select only 1):
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D                 Debt Clatm: A debt claim case is a 1awsuit brought
                  to recover a debt by an assignee of a claim. a debt                                       D   recover possession of real property, often by a landlord against a
                  collector or collection agency, a financial institution, or                                   tenant. A claim for rent may be joined with an eviction case if the
                  a person or entity primarily· engaged in the business of                                      amount qf rent due and unpaid is not more than
                  lending money at interest. The claim can be for no                                            $10,000,excluding statutory interest and court costs but including
                  more than$10,000, excluding statutory interest and court                                      attorney fees, if any.
                  costs but including attorney fees, if any.
                  Repair and Remedy: A repair and remedy case is                                                  mall Claims: A small claims case is a law~uit brought for
D                 a" lawsuit filed by a residential tenant under Chapter                                        the r~covery of money damages, civil ~alt~,_J)ersonal
                  92, Subchapter B of the Texas Property Code to                                                property, or other relief a11owed by law. ~clai~ sjn be for
                  enforce the landlord's duty to repair or remedy a                                             no more than $10,000, excluding statutory.;f.11ter!'i;p~nd court
                  condition materially affecting the physical health or                                         costs but including attorney fees, if any. ;;                                     ~r-,: ·- ;
                  safety of an ordinary tenant. The relief sought can be                                                                                                              c:,        ~~ -~~::       r~·
                  for no more than $10,000, excluding statutory                                                                                                                                  ~:~     ~.:.-:·:.1,-t;,
                  interest and court costs but 'including attorney fees, if                                                                                                          ~          ~..e~ ::~- '(~}
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